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                                           Return Date: 8/30/2018

                                                                                                                                    FILED
                                                                                                                                    8/1/2018 3:05 PM
                                                                                                                                  Atty No. 34010 BROWN
                                                                                                                                    DOROTHY
                                                              IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS                         CIRCUIT CLERK
                                                                  MUNICIPAL DEPARTMENT, FIFTH DISTRICT                              COOK COUNTY, IL
FILED DATE: 8/1/2018 3:05 PM 20185005964




                                                                                                                                    20185005964
                                              JAVIENE NICHOLS,                             )
                                                                                           )
                                                     Plaintiff,                            )
                                                                                           )       No.20185005964
                                                                    v.                     )
                                                                                           )
                                              WALMART, INC., d/b/a SAM’S                   )
                                              CLUB and THE HOME CITY ICE                   )
                                              COMPANY,                                     )
                                                                                           )
                                                     Defendant.                            )

                                                                                       COMPLAINT

                                                      NOW COMES the Plaintiff, JAVIENE NICHOLS, by and through her attorneys, THE
                                              LAW OFFICES OF McCREADY, GARCIA & LEET, P.C., and in her complaint against the
                                              Defendants, WALMART, INC., d/b/a SAM’S CLUB and THE HOME CITY ICE COMPANY,
                                              states as follows:

                                                     1.      On or about August 13, 2016, JAVIENE NICHOLS (“Plaintiff”) was lawfully on
                                                             the premises of Defendant WALMART, INC., d/b/a SAM’S CLUB (“Sam’s
                                                             Club”) located at 9400 S Western Avenue in Evergreen Park, Illinois.

                                                     2.      At said time and place, Plaintiff was walking near an ice freezer machine.

                                                     3.      Defendant THE HOME CITY ICE COMPANY (“Home City”) is a distributor of
                                                             ice freezer machines which sells and/or rents freezer machines to various retail
                                                             shopping store entities including Sam’s Club.

                                                     4.      Sam’s Club and Home City are responsible for maintaining the ice freezer
                                                             machines within the Sam’s Club premises.

                                                     5.      At said time and location, Plaintiff slipped and fell on water that came from an ice
                                                             freezer machine.

                                                                                   COUNT I – Negligence - Sam’s Club

                                                     6.      At all times pertinent, it was the duty of Sam’s Club to maintain the ice freezer
                                                             machine to prevent it from spilling water on the floor.

                                                     7.      At all times pertinent, it was the duty of Sam’s Club to remove water that spilled
                                                             on the floor.

                                                     8.      Such water was present for a long enough period of time that the Defendant knew,
                                                             or in the exercise of reasonable care, should have known of its existence.


                                                                                                                                 EXHIBIT E
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                                                 9.     At all times pertinent, the Defendant, through its agents and/or employees, owed a
                                                        duty of reasonable care to the Plaintiff
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                                                 10.    Notwithstanding this duty, at the time and location aforesaid, Sam’s Club
                                                        breached this duty in one or more of the following ways:

                                                        a.     Failed to maintain the ice freezer machine which leaked causing an unsafe
                                                               condition to be present on the store floor;
                                                        b.     Failed to inspect the subject premises to ensure the floor was free from
                                                               defect;
                                                        c.     Failed to maintain the premises in a reasonably safe condition by
                                                               maintaining and ensuring a dry floor;
                                                        d.     Failed to warn customers, including Plaintiff, of a wet floor;
                                                        e.     Allowed and permitted the subject premises to become and remain in a
                                                               dangerous condition;
                                                        f.     Was otherwise careless and negligent.

                                                 11.    As a result of the defendant’s breach of duty, Plaintiff suffered injuries of a
                                                        personal and pecuniary nature.

                                               WHEREFORE, Plaintiff, JAVIENE NICHOLS, prays for judgment against Defendant,
                                           WALMART, INC., d/b/a SAM’S CLUB, and for:
                                               A. Compensatory damages, in an amount in excess of $30,000.00, as she may prove at
                                                  trial;
                                               B. Her litigation costs;
                                               C. Any other relief this Court deems just and equitable.

                                                                          COUNT II – Negligence - Home City

                                                 12.    At all times pertinent, it was the duty of Home City to maintain the ice freezer
                                                        machine in a reasonably safe condition.

                                                 13.    At all times pertinent, the Defendant, through its agents and/or employees, owed a
                                                        duty of reasonable care to the Plaintiff.

                                                 14.    Notwithstanding this duty, at the time and location aforesaid, Home City breached
                                                        this duty in one or more of the following ways:

                                                        a.     Failed to maintain the ice freezer machine which leaked causing an unsafe
                                                               condition to be present on the store floor;
                                                        b.     Failed to inspect the ice freezer machine to ensure is was in proper
                                                               working order;
                                                        c.     Failed to instruct users of the ice freezer machine of the proper use of the
                                                               machine so as not to cause an unsafe condition to be present on the subject
                                                               premise floor;
                                                        d.     Failed to remove or replace said ice freezer machine knowing or through
                                                               reasonable inspection should have known that it was defective;
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                                                        e.     Was otherwise careless and negligent.

                                                 15.    As a result of the defendant’s breach of duty, Plaintiff suffered injuries of a
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                                                        personal and pecuniary nature.

                                                WHEREFORE, Plaintiff, JAVIENE NICHOLS, prays for judgment against Defendant,
                                           THE HOME CITY ICE COMPANY, and for:
                                                A. Compensatory damages, in an amount in excess of $30,000.00, as she may prove at
                                                          trial;
                                                B. Her litigation costs;
                                                C. Any other relief this Court deems just and equitable


                                                                                                       JAVIENE NICHOLS



                                                                                                       __________________________


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